Case 1:18-cv-04061-ILG-PK Document 224 Filed 03/26/21 Page 1 of 3 PageID #: 4190


                                                         U.S. Department of Justice


                                                         Tax Division
 Trial Attorney: Ali Gadelhak                             Please reply to:   Civil Trial Section, Northern Region
 Attorney’s Direct Line: 202-307-0854                                        P.O. Box 55
 Fax No.: 202-514-5238                                                       Washington, D.C. 20044
 Ali.Gadelhak@usdoj.gov
 DAH:DMK:AGadelhak
 DJ 5-52-20275
 CMN 2017102332
                                                         March 26, 2021

 Via ECF

 Hon. Peggy Kuo
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                  Re:     United States v. Lax, et al.
                          18-cv-4061 (E.D.N.Y.)

 Dear Judge Kuo:

         Pursuant to the Court’s March 18, 2021 Minute Order, the United States submits
 proposed statements of certified facts for the two motions for contempt and sanctions against
 third-party Martin Ehrenfeld (ECF No. 175 and 216). The facts below are divided between each
 motion: one set of facts relate to Mr. Ehrenfeld’s failure to comply with a document subpoena,
 and another set of facts relate to Mr. Ehrenfeld’s failure to comply with a deposition subpoena.
 Most of the facts below are supported by documents that were originally filed on the docket with
 the two motions and will be incorporated here by reference when appropriate. The United States
 respectfully requests that the Court certify the below statements pursuant to the Federal
 Magistrates Act.

 Proposed Statement of Certified Facts Related to Martin Ehrenfeld’s Failure to Comply
 with a Document Subpoena (ECF No. 175)

     1. Martin Ehrenfeld was personally served with a subpoena to produce documents on
        November 14, 2019. ECF No. 153-1, 3.
     2. Mr. Ehrenfeld failed to comply with the subpoena by the return date.
     3. The United States filed a letter motion to compel Mr. Ehrenfeld’s compliance with the
        document subpoena. ECF No. 153.
     4. A telephonic hearing was held on the motion to compel on May 13, 2020. Mr. Ehrenfeld
        appeared by telephone. Mr. Ehrenfeld claimed that Kovell agreements prevented him
Case 1:18-cv-04061-ILG-PK Document 224 Filed 03/26/21 Page 2 of 3 PageID #: 4191



                                               -2-

       from complying with the document subpoena. The Court directed Mr. Ehrenfeld to
       produce by May 27, 2020, the Kovell agreements or information about why such
       information is inaccessible. Mr. Ehrenfeld was also ordered, if asserting privilege, to
       produce a privilege log by June 30, 2020.
    5. Mr. Ehrenfeld failed to produce by May 27, 2020, Kovell agreements or information
       about why such information is inaccessible. Mr. Ehrenfeld failed to produce a privilege
       log by June 30, 2020.
    6. The United States made an oral request for an order to show cause at a July 28, 2020
       status hearing. The request was granted and the Court ordered Mr. Ehrenfeld to show
       cause why he should not be held in contempt for violating the Court’s May 13, 2020
       order. A hearing on the matter was set for August 4, 2020.
    7. The United States notified Mr. Ehrenfeld of the August 4, 2020 hearing by serving him
       with a copy of the Court’s July 28, 2020 order by email and first-class U.S. Mail to his
       last known address on July 30, 2020. ECF No. 164.
    8. Mr. Ehrenfeld did not appear at the August 2, 2020 show cause hearing.
    9. On August 7, 2020, the Court ordered Mr. Ehrenfeld to comply with the subpoena and
       produce all the documents demanded by August 20, 2020. The United States served Mr.
       Ehrenfeld with a copy of that order by email. ECF No. 166.
    10. The United States has communicated with Mr. Ehrenfeld using the phone number and
        email address that the United States has in its possession.
    11. To date, Mr. Ehrenfeld has produced no documents pursuant to the document subpoena.

 Proposed Statement of Certified Facts Related to Martin Ehrenfeld’s Failure to Comply
 with a Deposition Subpoena (ECF No. 216)

    1. On December 1, 2020, the Court allowed alternative service of a deposition subpoena on
       Martin Ehrenfeld. The Court ordered the deposition subpoena to be served by email and
       text message, as well as by mail to his last known address.
    2. Mr. Ehrenfeld was served with a deposition subpoena by email on December 18 and 29,
       2020 (ECF No. 205-1); by text message on December 22, 2020 (ECF No. 205-2); and by
       mail to his last known address on December 23, 2020 (ECF No. 205-3). The deposition
       was scheduled for January 5, 2021.
    3. Mr. Ehrenfeld failed to appear for his January 5, 2021 deposition.
    4. On January 15, 2021, the Court ordered Mr. Ehrenfeld to appear and give testimony at a
       February 4, 2021 remote deposition. ECF No. 208. That order was served on Mr.
       Ehrenfeld by email and text message on January 15, 2021 (ECF No. 209).
    5. Mr. Ehrenfeld failed to appear for his February 4, 2021 deposition.
Case 1:18-cv-04061-ILG-PK Document 224 Filed 03/26/21 Page 3 of 3 PageID #: 4192



                                             -3-

    6. The United States has communicated with Mr. Ehrenfeld using the phone number and
       email address that the United States has in its possession.
    7. To date, Mr. Ehrenfeld has not communicated with the United States regarding his
       deposition.



                                                          Respectfully submitted,

                                                          /s/ Ali Gadelhak
                                                          Ali Gadelhak
                                                          Trial Attorney

 Cc: All parties (via ECF) and defendant Moshe Lax (via email)
 Martin Ehrenfeld via email and text message
